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UNITED STATES DISTRICT COURT T
NORTHERN DISTRICT OF OKLAHOMA FILED
DEC 8 6 2009

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(\) TERENCE MOSES, Phil Lomb ardi,, Clerk
Plaintiff,
CASE NO.
VS. .
09 cv -8 15 GKF TIW
(|) ALLIANCEONE RECEIVABLES )
MANAGEMENT, INC, )
Defendant. )
COMPLAINT

1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practice Act
(“FDCPA”) 15 U.S.C. § 1692 et seq, and the Fair Credit Reporting Act (““FCRA”) 15
U.S.C. § 1681 et seg, from unlawful and illegal collection practices and activities
engaged in by Defendant ALLIANCEONE RECEIVABLES MANAGEMENT, INC
(“ARM”).

2. Jurisdiction is granted to this Court pursuant to 15 U.S.C. § 1692k, § 1681p and
28 U.S.C. § 1331 of the United States Code.

3. All acts upon which this action is base on occurred in Tulsa County, Oklahoma
which is located within the Northern District of Oklahoma.

4. Plaintiff is a “consumer” pursuant to 15 U.S.C. § 1692a (3).

5. Plaintiff is a “consumer” pursuant to 15 U.S.C. § 1681a (c).

6. Defendant is a “debt collector” pursuant to 15 U.S.C. § 1692a (6).

7. Defendant is a “person” and or “furnisher of information” pursuant to 15
US.C. § 1681a (b).

8. Communication is “the conveying of information regarding a debt directly or

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indirectly to any person through any medium” pursuant to 15 U.S.C. § 1692a (2).

9. On November 5, 2009 Plaintiff received a letter from ARM regarding an
alleged debt in the amount of $ 58.97 owed to Public Service Company of Oklahoma.

10. On November 20, 2009 Plaintiff mailed a debt validation request pursuant to
15 U.S.C. § 1692g and a cease and desist letter pursuant to 15 U.S.C. § 1692c via
certified mail to ARM.

11. On November 23, 2009 ARM received the debt validation / cease and desist
letter via certified mail from the Plaintiff.

12. On December 11, 2009 Plaintiff performed a check of Plaintiff's Experian
credit report and found a negative collection account listed in the name of ARM. Also
ARM was not listing the alleged debt as disputed despite the fact that the Plaintiff had
mailed a debt validation and cease and desist letter to ARM.

13. On December 14, 2009 Plaintiff filed a dispute with Experian regarding the
alleged collection account listed by ARM.

14. On December 17, 2009 Plaintiff received a reply from Experian concluding
the open investigation and affirming the alleged debt listed by ARM. The debt was also
not listed as disputed by ARM.

15. On December 18, 2009 Plaintiff notice that ARM was now reporting a
negative collection account on Plaintiff’s Equifax credit report. The collection account
was not being reported as disputed despite the fact that the Plaintiff had mailed a debt
validation and cease and desist letter to ARM.

16. On December 18, 2009 Plaintiff filed a dispute with Equifax regarding the

alleged collection account listed by ARM.
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17. On December 22, 2009 Plaintiff received a reply from Equifax concluding the
open investigation and affirming the alleged debt listed by ARM. The debt was also not
listed as disputed by ARM.

18. From November 23, 2009 up till December 11, 2009 Plaintiff received no debt
validation or any type of communication from ARM.

19. As a result of Defendant’s willful and deceptive violations of the FDCPA and
FCRA, Plaintiff has suffered out-of-pocket expenses and emotional distress.

20. As of the filing of this civil action Plaintiff has yet to receive any type of debt
validation from ARM.

CLAIM FOR RELIEF

21. Plaintiff incorporates all of the above paragraphs as though fully states herein.

22. The Defendant has violated 15 U.S.C. § 1692c by “communicating with the
Plaintiff despite receiving a valid cease and desist request.”

23. The Defendant has violated 15 U.S.C. § 1692e (8) by “threatening to
communicate or communicating false credit information, including the failure to
communicate that a debt is disputed.”

24, The Defendant has violated 15 U.S.C. § 1692e (10) by using “any false
representation or deceptive means to collect a debt.”

25. The Defendant has violated 15 U.S.C. § 1692f by using “any unfair or
unconscionable means to collect or attempt to collect an alleged debt.”

26. The Defendant has violated 15 U.S.C. § 1692g (b) by “failing to cease

communication with the Plaintiff before validating the alleged debt.”
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27. The Defendant has violated 15 U.S.C. § 1681s-2 (b) by “failing to report the
alleged debt as disputed after notice from Experian regarding the dispute.”

28. The Defendant has violated 15 U.S.C. § 1682s-2 (b) by “failing to report the
alleged debt as disputed after notice from Equifax regarding the dispute.”

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays of judgment on each of the causes of action
against Defendant as follows:

1. An award of actual damages pursuant to 15 U.S.C. § 1692k (a) (1);

2. An award of actual damages pursuant to 15 U.S.C. § 16810 (a) (1);

3. An award of statutory damages of $ 1,000 per violation pursuant to 15 U.S.C. §
1681n;

4. An award of statutory damages of $ 1,000 per violation pursuant to 15 U.S.C. §
1692k (a) (2) (A);

5. An award of costs of litigation and any other expenses incurred in pursuing this
civil action;

6. For any other relief that the Court deems just and proper.

THE PLAINTIFF

BGA

TERENCE MOSES

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